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                    Exhibit 1
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       http://cashforgold-scam.com/                                                                                         Go        SEP OCT DEC            
      49 captures                                                                                                                         17                  
       15 Apr 2011 - 29 Nov 2021                                                                                                   2010 2011 2012  About this capture




                                                               Find Out Which Companies
                                                                                                                  Search
 Home                 Scams                Reviews                Rip You Oﬀ & Which Don't!



 WE TESTED THEM ALL!                                    TOP Cash For Gold Site Rankings
 We purchased ten identical sets of
 gold jewelry and silver coins (see
 pics below): a 14k gold necklace
 weighing eight grams, a pair of 10k                                          OFFICIAL RANKINGS
 gold ear rings weighing ﬁve grams,
 and 3 gold-plated sterling silver                                                                       Read Reviews
 coins weighing one-ounce a piece.               1                                      $343.89          Write a Review
 Next, we contacted ten separate cash
 for gold companies and requested                                                                        Read Reviews
 “gold kits” from them by ﬁlling out
 their forms online. We decided to
                                                 2                                        $208.21
                                                                                                         Write a Review

 publish our ﬁndings online so the                                                                       Read Reviews
 public could see for themselves. It
 should be noted that two of the
                                                 3                                        $189.00
                                                                                                         Write a Review

 companies didn't even know the                                                                          Read Reviews
 coins we sent in were actually made
 of sterling silver! Pretty scary!
                                                 4                                        $174.38
                                                                                                         Write a Review

                                                                                                         Read Reviews
 The ﬁnal results clearly
 demonstrated that Cash for Gold
                                                 5                                        $104.80
                                                                                                         Write a Review

 USA paid over $130 more than the                                                                        Read Reviews
 second-place company. We highly
 recommend Cash for Gold USA due
                                                 6                                         $81.54
                                                                                                         Write a Review

 to the fact that their pricing was fair                                                                 Read Reviews
 and we felt as though they didn’t
 attempt to rob us.
                                                 7                                         $32.20
                                                                                                         Write a Review




 CASH FOR GOLD TEST

   Bought                                    Sent To                            Results
                                                                                                                   CashforGoldUSA.com          $343.89


                                                                                                                   PrecisionReﬁning.com        $208.21


                                                                                                                   JustSellGold.com            $189.00


                                                                                                                   ExpressGoldCash.com         $174.38


                                                                                                                   CaptainCashforGold.com      $104.80


                                                                                                                   GoldStash.com                $81.54

           10 Identical                              10 Diﬀerent
                                                                                                                   BrokenGold.com               $32.20
           Jewelry Sets                              Companies                 Cash For Gold USA
                                                                                HIGHEST PRICE




  After some pretty astonishing results, we decided to share our ﬁndings online. Some were surprisingly good,
  some were predictably bad, and two of the companies didn't even know that the coins we sent in were actually
  sterling silver!




Our Experiment
Hypothesis
There are many Cash for Gold companies out there online -- all claiming to "Pay the Best" - however, there can only be one company
that actually does pay the most.


Predictions
     We predicted that none of the companies would pay the exact same amount for the identical material. This was TRUE
     We predicted that there would be a slight diﬀerence between all the payouts. This was TRUE (except the diﬀerence was HUGE!)
     We predicted that some companies wouldn't recognize the Gold-Plated coins were actually Sterling Silver. This was TRUE
     We predicted that one of the companies would "lose" our items. This was FALSE (thank goodness!)


Materials
Our Materials
In order to gauge the true payouts of the companies being tested, we had to ensure that the items we sent to each company were
exactly alike. We purchased through a private jeweler 10 Identical Sets of the following items:

                                                                          1
e act y a
Case e1:22-cv-00352-LJV
        e pu c ased t oug a p ate je e e 0 de t ca Sets o t e o o
                                     Document 1-1 Filed           g te s
                                                                     05/12/22 Page 3 of 179
     A Gold Necklace (14k) weighing 8 grams
     Set of Gold Earrings (10k) weighing a total of 5 grams
     3 Gold-Plated Sterling Silver Commemorative Coins weighing 3 ounces of sterling silver (which is 92.5% pure) for a total of 86.3 g
     of pure silver


We thought the Gold Plated coins would be a good item to add to our test because, although they look like they are made of gold, they
are in fact only gold plated - which means they only surrounded by a very thin-layer of gold. There isn't enough gold on the outside
of the coin to really be worth much of anything, however, the real value comes inside - the coins are actually made of sterling silver.
We predicted that some of the companies wouldn't catch on to this and recognize their true value and we were right!


Goldpak, Gold Kit, Pre-Paid Mailer, Secure Pak, CashPak, GoldPaq
For each of the respective Cash for Gold companies being tested, we signed up on their websites by ﬁlling out a "Request Form"
online. The companies then agreed to mail us a Free Kit in order for us to ship our materials to them at no cost to us. The packages
were delivered to us at diﬀerent times. However, over the course of approximately two weeks we received all the kits and that is when
we proceeded with the experiment.


Out of all the companies tested, the shipping methods, meaning the way we sent them our material basically was divided into two
diﬀerent options:


FedEx, UPS, Third-Party Carriers Some of the cash for gold companies provided Pre-Paid FedEx or UPS shipping labels with either
Ground or Priority Delivery. What's nice about this option when you're sending your gold, silver, platinum or diamonds through the
mail is that you can really trust a third-party carrier such as Federal Express. The chances of your package getting "lost" in the mail
deﬁnitely gets minimized. We felt more conﬁdent about shipping our items through this type of service, that can be tracked
throughout the entire shipping process on the third party's website. Also, these packages typically get delivered quicker than the
option below.


Pre-Paid Envelope sent via USPS There were many companies who sent us a "kit" which contained the following:


     A lovely brochure touting their promises, awards, BBB rating along with our tracking # and full name and address printed on it
     A plastic bag to contain our items
     A pre-paid business envelope (usually made of Tyvek) to ship the materials back
     Some companies like Captain Cash for Gold sent us a key-chain, or a promise of a free vacation - which was really a bogus ploy
     to get us to look at a timeshare! They must have some deal with another company - hopefully you want fall for that trick.


As demonstrated in the pictures, we sent back the kits to all of the companies being tested on the same day. We did this in order to
control for the variable change in the market price of gold and silver the day our items were sold. The companies received our kits all
within three days of one another. It should be noted that the precious metal prices were very close to one another over the course of
these three days and was therefore deemed not a factor in eﬀecting the overall price of our gold and silver items.


NOTE: Personal Information & Private Data
A couple of the companies required full documentation (Drivers License or State ID AND a Passport!) to be sent in along with the items
due to speciﬁc State Laws. Since we didn't trust these cash-for-gold companies with our personal information we decided NOT to
send the items into them, instead we just cross them oﬀ the list. With so much Identity Theft happening on the Internet nowadays we
felt it was a wise move not to send some random company our Passport and Drivers License numbers. That information is worth more
than the gold!


The Experiment
10 Identical Packages (same items being shipped)
10 Diﬀerent companies
10 Diﬀerent Payouts!


THE LUCKY 7 GOLD BUYERS
Out of all 10 companies contacted, two of them requested our personal information (ie. Passport & Drivers License #) which we felt
uncomfortable sharing and one company did not even respond. Therefore, at the end of the day, we were only able to send material to
seven of the most popular online gold buyers. We thought that seven companies would still give us enough results to get a fair
representation of what the market was paying for our items.


MAIL DAY
In order to control for the precious metal market changing and eﬀecting the outcome of our experiment, we sent all of the packages
back to the respective gold buyers on the exact same day. Through email notiﬁcation and third-party tracking eﬀorts, we were able to
determine that all of the packages arrived at the companies within three days of one another. The prices of gold and silver did not
ﬂuctuate enough during this period of time to eﬀect comparing the overall payout by each company.


The Results
PAY DAY
Even though the packages went out at the same time, the payments came in at completely diﬀerent times and spanned nearly 10 days.
We received the checks in the following order:


Quickest Payers:
 1. Gold Stash
 2. Cash for Gold USA
 3. Just Sell Gold
 4. Express Gold Cash
 5. Broken Gold
 6 Captain Cash for Gold

                                                                    2
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6. Captain Cash for Gold
 7. Precision Reﬁning


It's understandable that some checks took longer to get back to us than others due to the fact that these companies are located in all
diﬀerent parts of the country. And since the test was conduct in California, companies that were further East obviously took longer to
ship their checks back to us than those situated in the West.


However, the real surprise was the range of payouts that we received. The top company CashforGoldUSA.com paid 1000% (that's 10
times!) more than the worst paying company, BrokenGold.com. It was absolutely astonishing to see how the same exact items earned
completely diﬀerent returns. We were deﬁnitely expecting to see a diﬀerence, however, the size of that diﬀerence was scary. Here are
the rankings of the payouts along with the value amount of those payouts.


Highest Bidders
1. CashforGoldUSA.com                   $343.89
2. PrecisionReﬁning.com                 $208.21
3. JustSellGold.com                     $189.00
4. ExpressGoldCash.com                  $174.3t
5. CaptainCashforGold.com               $104.80
6. GoldStash.com                        $81.54
7. BrokenGold.com                       $32.20


It should be also recognized that a couple of the companies didn't even recognize the coins were sterling silver! Even though it
blatantly states it right on the coin in plain English.


Conclusion
OUR RECOMMENDATION
We obviously have to recommend Cash for Gold USA as the company of choice in this experiment. They blew out the lowest bidder by
1000% and they paid 50% more cash than the second highest bidder. Cash for Gold USA has a lot of positive feedback online as well as
an A rating with the BBB. They claim to be a family-owned business and if this is true, it makes sense why they've been around for
such a long time.


CAUTION: Look out for Cash for Gold SCAMS & RIP-OFFs!
Beware of the companies you are sending your items to. Make sure they have been around for more than the ﬁve minutes. Do the
research! If a company can't recognize that the material you are sending in IS what they claim to be experts on - get your stuﬀ back.
It's frightening how anyone can launch a website today and claim they are a "gold-buyer."


Another tip would be to make sure the company has an actual oﬃce location. Don't do business with a company who you are unable
to contact over the phone - or even worse, if they're operating out of a P.O. Box - that just has scam written all over it.


Know what you have. We knew exactly what our items were BEFORE we sent them in so we knew what would be a fair payout and what
would be a Rip-Oﬀ. Take your jewelry to a local pawn broker ﬁrst - ask them what it is - and that way you'll know when you send your
stuﬀ in, if the payment is fair.


Always send your items through a Third-Party carrier like FedEx or UPS. You want to make sure that your items will never get lost in
the mail and that you can track your stuﬀ throughout the entire process!




       10 TIPS TO PREVENT YOURSELF FROM BEING SCAMMED!
  Tip # 1: Check with the Better Business Bureau. This private, nonproﬁt organization was founded in 1912 provides services and
  programs to assist consumers and businesses.
  Tip # 2: Look at how long the company has been in business. Do they have a long standing reputation? There are a lot of ﬂy-by-
  night organizations that may not have the level of stability needed to provide good customer service.
  Tip # 3: Check the company's corporate policies. Do they have a return policy or clearly stated guarantee? If not, they are obviously
  not thinking about being consumer focused and how to best serve their clients.
  Tip # 4: Look for a phone number and address. Any company that only has an email address and a PO Box should be avoided.
  Tip # 5: Does the company tell you what to expect? Look for a company that lists their prices and deﬁnes how they do business.
  Tip # 6: Does the company use a third party shipper? If the company uses Fed Ex or UPS you will be able to track your shipment of
  valuables and make sure your package isn't "accidently" lost in the mail and the company can't claim that your package "never
  arrived."
  Tip # 7: Take photos of your items before you send them. That way if anything should happen you will have proof of exactly what
  your items looked like. It is also insurance against any unforeseen "mix ups."
  Tip # 8: Volume. Often business will often pay a higher price for larger quantities.
  Tip # 9: Write your name on your items. It is rare for a reputable company to confuse your items, but adding your name is helpful.
  Tip # 10: Be realistic. If you paid $5 for a gold item, chances are it isn't worth a fortune.




                                                                                                                              Share our results

    US Gold Buyers Scam                Midwest Gold Buyers Scam         Gold Stash Scam                 Broken Gold Scam

    Sell Your Gold Scam                Gold Cash Scam                   Cash 4 Gold Scam                1800 Gold Kit Scam




                                                                     3
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                    Exhibit 2
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Our database now contains whois records of 398 Million (398,212,863) domain names.                                                       Login / Password / Signup




                                                                                              Whois Lookup            cashforgold-scam.com                SEARCH


                                                                                      Home     Whois Lookup          Our Services       Pricing         Contact Us




       Whois Lookup                   cashforgold-scam.com                                                       GO



                  WHOIS RECORD                            JSON                               XML                  SIMILAR DOMAINS


                                                                                                              Currently there are 876 domain names similar to
     Domain: cashforgold-scam.com (876 similar domains)
                                                                                                              cashforgold-scam.com in our database:
     Registrar: GoDaddy.com, LLC (113 million domains)
     Query Time: 17 Jan 2022 - 11:51 PM UTC [19 MINS BACK] [REFRESH]                                             cashforgold.com [Jun 1998]
                                                                                                                 cashforgold.net [Apr 2005]
                                                                                                                 cashforgold.org [Jun 2007]
     Registered: March 07, 2011 [10 years old]
     Updated: March 08, 2021 [10 months ago]                                                                     cashforgold.info [Nov 2013]
     Expiry: March 07, 2022 [1 month left]                                                                       cashforgold.biz [Oct 2015]
                                                                                                                 cashforgold.today [Oct 2021]

     REGISTRANT CONTACT
                                                                                                                 cashforgold.gold [Oct 2021]
                                                                                                                 cashforgold.site [Jun 2021]
     Name: B Star Printing
                                                                                                                 cashforgold.online [Feb 2021]
     Company: B Star Printing
                                                                                                                 cashforgold.xyz [Dec 2020]
     State: California
     Country: United States (163 million domains from United States for $4,500)
                                                                                                                View all Similar Domain Names


     NAME SERVERS
                                                                                                                  WHOIS HISTORY
     ns01.cashparking.com
     ns02.cashparking.com
                                                                                                                 8 August 2016 [1 Whois Record]
                                                                                                                 17 January 2022 [1 Whois Record]
     DOMAIN STATUS
                                                                                                                View all Historical Whois Records
     clientDeleteProhibited
     clientRenewProhibited
     clientTransferProhibited
                                                                                                                  RECENT WHOIS LOOKUP
     clientUpdateProhibited

                                                                                                                 onlineautocheck.com [2 mins back]
     SHARE THIS PAGE                                                                                             peterhuang.com [3 mins back]

     Short URL: whoxy.com/cashforgold-scam.com                                                                   cphuang.com [3 mins back]
     Permalink: https://www.whoxy.com/cashforgold-scam.com                                                       attorneykemp.com [4 mins back]
                                                                                                                 phuang.com [5 mins back]
                                                                                                                 norgardlaw.com [7 mins back]
                                                                                                                 generactivity.com [14 mins back]
                                                                                                                 remitly.com [15 mins back]
                                                                                                                 ncargoshippingltd.com [18 mins back]
                                                                                                                 2-se.com [19 mins back]

                                                                                                                Vi      ll R    t Wh i L    k
                                                                                  1
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                                                                 View all Recent Whois7Lookups
                                                                                         of 179

 Whois Lookup API
 You can fetch the above results using our Whois Lookup API.


       http://api.whoxy.com/?key=xxxxx&whois=cashforgold-scam.com


 Whois API digs into WHOIS registry referral chains until the correct WHOIS servers are found, for the most complete WHOIS data.
 Our WHOIS parser converts WHOIS data into well-structured fields (XML & JSON), which can easily be read by your application.
 Whois API supports a total of 2026 Domain Extensions (gTLDs, ccTLDs & new gTLDs), ensuring all domains are supported.

 Sample Output: JSON Schema • XML Schema • JSON Live Results • XML Live Results


   WHOIS LOOKUP PRICING                                                          TOTAL API CALLS                     PRICE               CPM            PURCHASE


   1,000 Whois Lookup API Queries                                                      1,000                          $2                 $2.00          Order Now


   10,000 Whois Lookup API Queries                                                    10,000                          $20                $2.00          Order Now


   50,000 Whois Lookup API Queries                                                    50,000                          $75                $1.50          Order Now


   250,000 Whois Lookup API Queries                                                   250,000                        $300                $1.20          Order Now


   1 Million Whois Lookup API Queries                                                1,000,000                      $1,000               $1.00          Order Now


   10 Million Whois Lookup API Queries                                              10,000,000                      $5,000               $0.50          Order Now


   25 Million Whois Lookup API Queries                                              25,000,000                     $10,000               $0.40          Order Now




 Who owned cashforgold-scam.com in the past? (2 records)

                                                                                                                                                         8 AUG 2016
   Owner: Rachel Leigh (9 domains)

   Company: B Star Printing

   Geolocation: San Francisco, California, United States (163 million domains from United States for $4,500)

   Email: info@cashforgold-scam.com

   Nameservers: ns01.cashparking.com, ns02.cashparking.com

   Status: clientDeleteProhibited, clientRenewProhibited, clientTransferProhibited, clientUpdateProhibited




                                                                                                                                                        17 JAN 2022
   Owner: B Star Printing UPDATED

   Company: B Star Printing

   Geolocation: California, United States (163 million domains from United States for $4,500)

   Nameservers: ns01.cashparking.com, ns02.cashparking.com

   Status: clientDeleteProhibited, clientRenewProhibited, clientTransferProhibited, clientUpdateProhibited



 Whois History API returns all the historical WHOIS records of a domain name. For more details, please visit https://www.whoxy.com/whois-history/



Home    Pricing   Whois Database   Terms of Service   Privacy Policy   Contact Us                                             2012-2022 © Whoxy.com • All Rights Reserved




                                                                                      2
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                     Search Contact                                                                                     




    B STAR PRINTING CONTACT IN SAN FRANCISCO UNITED STATES




    Rachel Leigh
    B Star Printing · San Francisco

     info@sellgoldforcash.us


      Search Background Check            Edit Listing




     B STAR PRINTING BUSINESS DATA




     3053 Fillmore St #317, San Francisco, California, 94123

     (888) 960-9555


      AllBiz Business Proﬁle          Search Professional Contact Details 




     (11) OTHERS WITH SIMILAR FIRST AND LAST NAMES



    NAME                              POSITION                        BUSINESS                    CITY


                                                 Global Learning and Development
    Rachel Leigh Orﬁnger                                                                Uber Technologies, Inc.
                                                 Specialist

    Rachel Leigh                                 Cook                                   Indosiar Dot Com

    Rachel Leigh                                CEO                                    Andy's Glass & Window Company

    Rachel Leigh                                 Cook                                   Mommysavers.com

    Rachel Leigh                                 Cook                                   Nothing Gold Can Stay

    Rachel Leigh                                 Cook                                   New Films International

    Michael Leigh Ray                            Registered Agent                       Images From Asia Incorporated

    Leigh Ray                                   Member                                 Princess Cruises

    Leigh Ray                                    Co-Owner                               Hooked on Driving

    Rachel Leigh Anderson                        Member                                 Rachel & Rose Bridal

    Rachel Leigh Wolfe                           President                              K R Wolfe Inc




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                                                                                                         
                    PRIVACY                                   TERMS                                     CONTACT




                                                                       3
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                    Exhibit 3
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                                                                                                                                         

                                                    Compare US Online
                                                       Gold Buyers

In 2021 we undertook an undercover audit across ﬁve major gold sites in the US. We requested gold selling-packs online, once these packs were
received, we ensured that identical sums of 10K gold were sent for evaluation. Below you’ll see a comparison of the prices we were offered for the
identical packs of gold, and our review of the process. We've rated each of the companies based on the price they offered us, their online reviews
                                        and ratings on BBB, and how quicky we received our payments.




                     HIGHEST      A RATED                                                                            Our Favorite
                     PAYING       ON BBB




                                                                                                                Price Offered


                                                                                                          $230.00

                    Cash For Gold USA
                    They offered us the most for our gold, the process was easy and they were the quickest
                    with our offer and payment. They had the best online reviews, scoring 5/5 with shopper
                    approved and are A rated on BBB. They also offer a best price guarantee. This makes
                    them our recommended gold buyer for the US.


                                       PRICE MATCH                                           FREE SHIPPING


                                         5/5                                                  24 hours
                                        Rating*                                               Payment

                                                                    VISIT SITE




                                                                         1
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     SECOND      NO BBB
                                                                              Second Highest Paying
     HIGHEST     LISTING
     PAYING




                                                                                   Price Offered


                                                                              $222.00

     Redollar
     Redollar offered the second most for our gold, and they have great reviews on Trustpilot
     although are not listed on BBB. The process was easy although they took a day longer than
     Cash For Gold USA for them to make an offer for our gold, and they don't offer a price
     match.


                   NO PRICE MATCH                                  FREE SHIPPING


                        4/5                                        24 hours
                       Rating*                                     Payment

                                              VISIT SITE




        TOOK
       MORE
                 NO BBB
      THAN 10                                                                   Third Highest Paying
                 LISTING
      DAYS FOR
       OFFER




                                                                                   Price Offered


                                                                              $200.00

     Gold Geek
     Although the price offer from gold geek was relatively good, we never received a call or
     email to say they had received our gold. We called them 10 days after the gold was sent
     and was told they had been on vacation and that's why they hadn't been back to us.


                      PRICE MATCH                                  FREE SHIPPING


                        3/5                                        48 hours
                       Rating*                                     Payment

                                              VISIT SITE




       LOW         A+                                                          Second Lowest Paying
      PAYING     RATED
                 ON BBB




                                                                                   Price Offered


                                                                              $174.65

     Express Cash Gold
                                                  2
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       The price we were offered for our gold was disappointing at 27% lower than our highest
       offer. They have lots of positive reviews and a great score on BBB.


                           PRICE MATCH                                                   FREE SHIPPING


                             3/5                                                          24 hours
                            Rating*                                                       Payment

                                                             VISIT SITE




          BY FAR
           THE         A+                                                                                        Lowest Paying
         LOWEST      RATED
          OFFER      ON BBB




                                                                                                              Price Offered


                                                                                                            $95.93

       Sell Your Gold
       The offer we got from Sell Your Gold was the lowest in our comparison by far. They offered
       less than half the highest gold buyer offered. They do have lots of positive reviews online
       and are A+ rated on BBB but you might expect to receive a lot less cash for your gold.


                           PRICE MATCH                                                   FREE SHIPPING


                             2/5                                                          24 hours
                            Rating*                                                       Payment

                                                             VISIT SITE




      Sell Gold, Jewellery & Silver Online
       When selling your gold, jewellery & silver, it's important to use a reputable online gold buyer, we
      advise looking for reviews on places such as Trust Pilot, Shopper Approved and the BBB. When we
       carried out our research into the leading gold buyers, we found most of the sites used these sites
  ←   to capture reviews. We found on the whole the reviews were positive. We found the Cash for Gold
       USA had the highest score, scoring 100% on Shopper Approved followed by reDollar and Express
                                  Gold Cash both Scoring 98% on trust pilot.



                                                            •••
               *Ratings based on the amount we were offered for gold, online reviews and how quickly we received our payment.




                                            Our Process


                                                                  3
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        We undertook an                    We waited for all            We requested for all
        undercover audit                  our offers to come            payments to be sent
      across the five major                   back before                 via cheque, these
      gold and silver sites              agreeing to sell. Two           took varying times
          in the US. We                   companies offered                   to arrive.
         requested gold                  unusually low prices
      selling-packs online,                 in comparison.
        once these packs
        were received we
           ensured that
        identical sums of
       10K gold were sent
         for evaluation.




          Frequently Asked Questions

       How can I be sure this is safe?                                                         V



       How long will it take for me to get paid?                                               V



       Which site was the best in our test?




                                                                                               V
       Having conducted our own research of the leading gold sites in the US, we
       recommend Cash For Gold USA, they offered us the most for our gold, they have the
       highest review scores of all the sites we researched, they offer free postage and
       returns, and they offer a price match guarantee. So, if you are offered a price from
       another site, they will match it.




                        All site content ©Cash For Gold Comparison 2022.




                                                   4
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                                                                                                                                          

                                                        Compare US Online
                                                          jewelry Buyers

In 2021 we undertook an undercover audit across ﬁve major gold sites in the US. We requested jewelry selling-packs online, once these packs were
 received, we ensured that identical sums of jewelry were sent for evaluation. Below you’ll see a comparison of the prices we were offered for the
identical packs of jewelry, and our review of the process. We've rated each of the companies based on the price they offered us, their online reviews
                                             and ratings on BBB, and how quicky we received our payments.




                      HIGHEST      A RATED                                                                           Our Favourite
                      PAYING       ON BBB




                                                                                                                 Price Offered


                                                                                                            $230.00

                     Cash For Gold USA
                     They offered us the most for our jewelry, the process was easy and they were the quickest
                     with our offer and payment. They had the best online reviews, scoring 5/5 with shopper
                     approved and are A rated on BBB. They also offer a best price guarantee. This makes
                     them our recommended gold buyer for the US.


                                        PRICE MATCH                                           FREE SHIPPING


                                          5/5                                                  24 hours
                                         Rating*                                               Payment

                                                                      VISIT SITE




                      SECOND        NO BBB
                                                                                                            Second Highest Paying
                                                                           5
      SECOND
Case 1:22-cv-00352-LJV
     HIGHEST
                       Document 1-1 Filed 05/12/22Second
                  NO BBB
                  LISTING
                                                      Page
                                                         Highest 15   of 179
                                                                 Paying
       PAYING




                                                                                    Price Offered


                                                                                $222.00

      Redollar
      Redollar offered the second most for our jewelry, and they have great reviews on Trustpilot
      although are not listed on BBB. The process was easy although they took a day longer than
      Cash For Gold USA for them to make an offer for our gold, and they don't offer a price
      match.


                    NO PRICE MATCH                                  FREE SHIPPING


                         4/5                                         24 hours
                        Rating*                                      Payment

                                               VISIT SITE




         TOOK
        MORE
                  NO BBB
       THAN 10                                                                   Third Highest Paying
                  LISTING
       DAYS FOR
        OFFER




                                                                                    Price Offered


                                                                                $200.00

      Gold Geek
      Although the price offer from gold geek was relatively good, we never received a call or
      email to say they had received our gold. We called them 10 days after the gold was sent
      and was told they had been on vacation and that's why they hadn't been back to us.


                       PRICE MATCH                                  FREE SHIPPING


                         3/5                                         48 hours
                        Rating*                                      Payment

                                               VISIT SITE




        LOW         A+                                                          Second Lowest Paying
       PAYING     RATED
                  ON BBB




                                                                                    Price Offered


                                                                                $174.65

      Express Cash Gold
      The price we were offered for our jewelry was disappointing at 27% lower than our highest
      offer. They have lots of positive reviews and a great score on BBB.

                                                   6
           y        p
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                           PRICE MATCH                                                   FREE SHIPPING


                             3/5                                                          24 hours
                            Rating*                                                       Payment

                                                             VISIT SITE




          BY FAR
           THE         A+                                                                                        Lowest Paying
         LOWEST      RATED
          OFFER      ON BBB




                                                                                                              Price Offered


                                                                                                            $95.93

       Sell Your Gold
       The offer we got from Sell Your Gold was the lowest in our comparison by far. They offered
       less than half the highest jewelry buyer offered. They do have lots of positive reviews online
       and are A+ rated on BBB, but you might expect to receive a lot less cash for your jewelry.


                           PRICE MATCH                                                   FREE SHIPPING


                             2/5                                                          24 hours
                            Rating*                                                       Payment

                                                             VISIT SITE




      Sell Gold, Jewellery & Silver Online
       When selling your gold, jewellery & silver, it's important to use a reputable online gold buyer, we
      advise looking for reviews on places such as Trust Pilot, Shopper Approved and the BBB. When we
       carried out our research into the leading gold buyers, we found most of the sites used these sites
  ←   to capture reviews. We found on the whole the reviews were positive. We found the Cash for Gold
       USA had the highest score, scoring 100% on Shopper Approved followed by reDollar and Express
                                  Gold Cash both Scoring 98% on trust pilot.



                                                            •••
               *Ratings based on the amount we were offered for gold, online reviews and how quickly we received our payment.




                                            Our Process




                                                                  7
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        We undertook an                    We waited for all                We requested for all
        undercover audit                  our offers to come                payments to be sent
      across the five major                   back before                     via cheque, these
      gold and silver sites              agreeing to sell. Two               took varying times
          in the US. We                   companies offered                       to arrive.
         requested gold                  unusually low prices
      selling-packs online,                 in comparison.
        once these packs
        were received we
           ensured that
        identical sums of
       10K gold were sent
         for evaluation.




           Frequently Asked Questions

       How can I be sure this is safe?




                                                                                                    V
       When selling your gold, jewellery & silver, it's important to use a reputable online
       gold buyer, we advise looking for reviews on places such as Trust Pilot, Shopper
       Approved and the BBB. When we carried out our research into the leading gold
       buyers, we found most of the sites used these sites to capture reviews. We found on
       the whole the reviews were positive. We found the Cash for Gold USA had the highest
       score, scoring 100% on Shopper approved followed by reDollar and Express Gold
       Cash both Scoring 98% on trust pilot. When ordering your gold selling pack, you’ll
       want to ensure that your gold is insured if it gets lost in the post. Most gold sites will
       offer free FEdex or USPS delivery with free insurance included. This can be
       increased if you think your items are worth more than this value.




       How long will it take for me to get paid?                                                    V



       Which site was the best in our test?                                                         V




                         All site content ©Cash For Gold Comparison 2022.




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                                                                                                                                              


What’s worse, a hilarious 404 page can’t be found either.

back to homepage




                    Sell Gold, Jewellery & Silver Online
                     When selling your gold, jewellery & silver, it's important to use a reputable online gold buyer, we
                    advise looking for reviews on places such as Trust Pilot, Shopper Approved and the BBB. When we
                     carried out our research into the leading gold buyers, we found most of the sites used these sites
                ←   to capture reviews. We found on the whole the reviews were positive. We found the Cash for Gold
                     USA had the highest score, scoring 100% on Shopper Approved followed by reDollar and Express
                                                Gold Cash both Scoring 98% on trust pilot.



                                                                          •••
                             *Ratings based on the amount we were offered for gold, online reviews and how quickly we received our payment.




                                                          Our Process




                           We undertook an                            We waited for all                         We requested for all

                                                                                9
        We undertook an     We waited for all     We requested for all
Case 1:22-cv-00352-LJV  Document    1-1 Filed 05/12/22    Page 19 of 179
         undercover audit                 our offers to come              payments to be sent
       across the five major                  back before                   via cheque, these
       gold and silver sites             agreeing to sell. Two             took varying times
           in the US. We                  companies offered                     to arrive.
          requested gold                 unusually low prices
       selling-packs online,                in comparison.
         once these packs
         were received we
            ensured that
         identical sums of
        10K gold were sent
          for evaluation.




           Frequently Asked Questions

       How can I be sure this is safe?                                                           V


       How long will it take for me to get paid?




                                                                                                 V
       We found that most sites were quick with there offers and payments. Our offers for
       our gold came to us within a few days, although one site, gold geek took almost 2
       weeks to make our offer and we had to call them. When we accepted the offers most
       of the payments were received within a couple of days. Some gold sites will charge
       you if you want to have your items returned, whereas others will return your items free
       of charge. We would advise considering these factors before you choose which
       company to send your gold too.




       Which site was the best in our test?                                                      V




                         All site content ©Cash For Gold Comparison 2022.




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                    Exhibit 4
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                                       1-866-237-7954           Track Your Shipment




                                                     Get a 10% Bonus Today!

                                                 1    How do you want to ship your items?


Sell Your Gold,                                         USPS Mailer (Fast)    FedEx Label (Fastest)




Silver & Diamonds                                2    Contact Information

                                                       First Name             Last Name
Fill out the form to request free
                                                       E-mail                 Phone No.
shipping and get paid within 24
hours! A private transaction                                     GET PAID TODAY
that's safe, risk-free and easy to
                                                By signing up you agree to Cash for Gold USA terms &
do.                                                                 conditions.




    $1 5 6 6 4 9 3 3 9             1
$1 5 6,6 4 9,3 3 9
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PAID TO DATE
 GET PAID TODAY




                   Cash for Gold USA
                           We make it very simple.




    Request Free                  Send in Your Items                Get Paid More Cash!
      Shipping
                                  Track your insured shipment         Within 24 hours one of our
Fill out the form and choose     every step of the way via USPS        certiﬁed technicians will
 your preferred method of        or FedEx. FedEx shipments are      appraise your item(s) and send
           shipping                 insured up to $5,000.00.          you an offer. If you accept,
                                      Additional insurance is       payment will be rushed to you
                                 available for items valued up to   by check, bank wire or PayPal.
                                           $100,000.00.




                                          GET STARTED




             Our customer satisfaction is key.
           We offer our customers a 100% Satisfaction Guarantee to "back out"




  "If you are not satisﬁed with our quote for any
reason, simply deny the offer and your items will
 be returned to you free of charge. No questions
                       asked."
                               Norm Schneider President




                                                2
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              FOX NEWS found we paid 3X more than our
            competitors in an undercover investigation. watch:




               05:46




                                               GET STARTED




                                   Why we’re the best choice.


                                                                                    Gold Calculator
                                                                                Several clients have been paid out over
                                                                                    $20,000 for the gold, silver and

250,000+ Customers                              Price Match                        diamonds over the years. Use the
                                                                                calculator below to estimate your value.
There's a reason so many customer trust         Guarantee!
       us and keep coming back.
                                           We'll match any competitors offer
                                          GUARANTEED               t     't b
                                                           3
        Case 1:22-cv-00352-LJV GUARANTEED
                                Document  -- our1-1     Filed
                                                payouts can't be 05/12/22 Page 24 of 179
                                                                     beat.


                                                                                                  Weight 0                  g


                                                                                                  Karats 14K


                                                                                                                                $0
    We'll Pay You More                                          Risk-Free
    We offer GIA certiﬁed assays that will        If for any reason you're unhappy with our      Today's Gold Price: $1836.70/oz
    accurately appraise your material and          offer, we'll return your items to you at no
                                                                                                    Estimate does not reﬂect payout
     help you get the most for your gold,                               cost.
            silver, and diamonds.




                                                                GET STARTED




                                       5-Star Customer Rating


December 21, 2021 by Lk (GA, United States)
“Great quick service.”




December 14, 2021 by Chuck (OH, United States)
“Good experience and top dollar for item”



                                                                                                                     Read More Reviews...




                                                 Previous Payouts

                  Charm                           Bracelet                            Charm                      Ring
                  22k Charm                      10k bracelet                        14k Charm                  14k Ring




                  $445.89                         $304.02                             $141.88                  $248.28




                                                                       4
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                 With over 250,000 customers served and
         $50,000,000 paid out to those customers since
        our inception in 2005, Cash for Gold USA is one
              of the largest online B2C gold buyers in the
                                                               world.




                                                  GET A 10% BONUS NOW




                                                                 FAQ'S

What do you buy?

You can ship us any valuables containing diamonds, gold, silver, platinum or palladium. This includes anklets, bracelets, brooches, chains,
charms, clasps, coins, dental scrap (Gold or Silver), earrings, gold solder, ingots, links, necklaces, nuggets, pendants, pins, rings, Rolex
watches, shot, gold watches & bands, wire (Gold or Platinum) & EVERYTHING ELSE! All Karats Accepted: 8k 9k 10k 14k 15k 18k 22k 24k. And if
you’re not sure of something, either mail it to us and let our experts make the determination or give us a call and we may be able to help
you over the phone.



Do you buy broken jewelry?

As long as it contains gold, silver or platinum, we will make you an offer for it. The material’s value is based on its weight and purity — NOT
its condition. Except when it comes to Rolex watches, then the condition is taken into account for the aftermarket resale value.



What if my material does not ﬁt in the SAFEPAK or the FedEx envelope you send me?

It's not a problem. You can either use the provided shipping label on a box of your own choice or contact us at the ofﬁce and we'll help you
make alternate arrangements. We also offer a complimentary pickup service from FedEx. To schedule give us a call or reach out by email.
1-866-237-7954 | info@cashforgoldusa.com



Can I mail my material in my own packaging?

Yes! We can provide you with a free, FedEx shipping label to print out or you can ship us your valuables using a carrier of your choice. If you
do choose to ship your item(s), make sure you add tracking to your package to ensure it arrives safely. Cash for Gold USA does not insure
packages shipped in this capacity, so you may want to elect to insure your item(s) yourself.
All shipments should be sent to:
CFG-USA
6 Perry Dr.
Foxboro, MA 02035



If I’m unhappy with my offer, will it cost me anything to get my item(s) back?

Absolutely not. If you deny our offer we’ll return your item(s) to you free of charge without any hassle.



How do I know my material is safe and secure? What about when it gets to your reﬁnery?

                                                                       5
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We insure our SAFEPAKS and APPRAISAL kits through Loyd's of London. The SAFEPAK was designed speciﬁcally to keep your material safe
and secure throughout the entire shipping process. And FedEx Express is one of the most trusted carriers in the world. Finally, our
TRACKING SYSTEM allows you to track your shipment throughout every step of the process until it arrives at our facility which is constantly
monitored by closed-circuit security cameras.There's a reason more than 250,000 customers and have been paid over $53 Million by us. It's
because the transaction is safe. That's why we have hundreds of 5-star reviews.



Do you buy diamonds?

Cash for Gold USA buys diamonds. If your material contains diamonds we will have them appraised and offer you our most competitive
price. Your payout will depend upon the 4 C's: color, cut, clarity and carat of your diamond(s). Because we do such a high volume of
business, Cash for Gold USA does not offer a stone removal service.



Do you buy Dental Scrap? And if so, what? And is it safe to ship?

We buy all Gold or Silver Crowns, Bridges, PFM’s, PFG’s, Inlays, and Caps with or without the bone or porcelain. All of the material has been
approved for shipping by OSHA, DHS and the EPA. Visit US at: Cash For Dental Scrap



Do you buy Silver or Sterling Silver?

You can also sell us your Sterling Silver Jewelry, Flatware & Serving Pieces. If you have some silver items you would like us to buy, you can do
so here by ﬁlling out the short form, so you can easily ship us your silver items and get an offer fast within 24 hours!




                                                                             



   Blog        Locations           FAQ’s        Our Partners             Afﬁliate Registration              Contact Us           Reviews

                                                         Tracking          Sitemap

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                                                           1-866-237-7954           Track Your Shipment




SELL YOUR GOLD


                                                                          $1 5 6,6 4 9,3 4
                                                                          9
                                                                                 PAID TO DATE


                                                                        Get a 10% Bonus Today!

                                                                          1    How do you want to ship your
                                                                               items?

                                                                                 USPS Mailer (Fast)

                                                                                 FedEx Label (Fastest)
 Whether you need fast cash for expenses or simply want to trade in
 old or broken jewelry, selling unwanted items to a dedicated buyer
 of gold and other precious metals is a great way to get a fair, fast     2    Contact Information
 payout for your items. At Cash For Gold USA, we make the process
                                                                                 First Name           Last Name
 easy, secure, and risk-free. Wondering how much you can get for
 your gold? See our previous payouts.                                            E-mail               Phone No.


                    What We Buy
                                                                                   GET PAID TODAY
    Gold Rings                 Gold                    Gold
                                                                        By signing up you agree to Cash for Gold USA
                              Jewelry                Necklaces                      terms & conditions.




       Gold                   Gold                  Gold Coins
      Charms                 Watches



      Broken                   Gold                  Diamonds
       Gold                  Bracelets
      Jewelry



 About Cash For Gold USA
 Cash For Gold USA is proud to be one of the nation’s most
 reputable online gold buying companies. Despite the focus on gold
 in our name, we also deal in other valuable precious metals,
 including silver, platinum and palladium. We’ve got 35+ years of
 experience in the scrap metals industry, and since 2005 we’ve paid
 more than 250 million customers over $50 million for their broken
 or unwanted precious metal jewelry.


                                                       7
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We know that you want to get the most cash as soon as possible,
which is why we strive to make the selling process quick and easy.
Unlike pawnbrokers who focus primarily on issuing collateral loans
and reselling pawned items, dealing in metals is all we do. While a
pawn shop might have some understanding of what your jewelry
might be worth, our experts can give you the most accurate value
for your gold and offer you the highest payouts.


How Much Is My Gold Worth?
If you’d like to
estimate your
gold’s value at
home, ﬁrst
determine its
weight and its
karat value.
Gold jewelry is
typically
marked
somewhere
with its karat
value, which is deﬁned by the purity of the gold that was used (in
other words, the percentage of actual elemental gold present in
the piece). The higher the purity, the greater the value will be.

The following are commonly used karat weights and their
respective gold purity:

     24k: 99.99% gold
     22k: 91.67% gold
     18k: 75.00% gold
     14k: 58.33% gold
     10k: 41.67% gold
     8k: 33.30% gold

At Cash For Gold USA, we’re focused on the raw value of the gold
material used to make the piece in question. Because of this, our
appraisals are based only on the value of the gold content and not
on the aesthetic, numismatic, or collectible value of the item.


Valuable Gold Items You May
Have Sitting Around Your Home
You could have high value gold pieces in your home that are just
collecting dust or languishing in storage. Here are three common
types of household gold items that you can turn into cash:

     Scrap gold: Do you have gold accessories you haven’t worn in
     years and which no longer have any market value beyond its
     gold content? You can sell good accessories as scrap, as the
     gold can still be melted down and recycled.
     Broken gold: If you have a broken piece of gold jewelry or
     even a gold part that broke off from a larger piece, you can
     also sell these for their gold content. Things like gold watch
     bands, gold chains, gold ring bands, and broken gold bracelets
     can be sold whole or in part to a gold buyer.
     Gold coins: Though these are less common than gold jewelry
     and accessories, some people have coins at home that they
     have either inherited or collected as an investment. For
     example: the U.S. Mint produces various sizes of gold bullion
     coins—if you have them, they can be sold to a gold buyer at
     any time for their current value.


How To Test Gold At Home
If there is no karat marking or you’re not sure whether an item is
made from real gold or has been plated, there are a few simple at-
home tests you can do to ﬁnd out
                                                         8
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home tests you can do to ﬁnd out. Document 1-1 Filed 05/12/22 Page 29 of 179
       Rub the item against a piece of unglazed porcelain. If it leaves
       a black streak, the item is made from pyrite (“fool’s gold”)
       rather than real gold. If the streak is gold-colored, it is made
       from real gold.
       Hold a magnet above the gold item. Gold is not magnetic, so if
       your item is attracted to the magnet, there are signiﬁcant
       impurities in the metal. The low purity also tells you it’s not
       likely to have a very high karat value.
       If the item passes these two tests, you might choose to
       purchase a home gold testing solution from a store. These can
       help you get a more accurate idea of how pure the gold
       material is.

Keep in mind that even commercial home testing solutions are
only rough ﬁeld tests and cannot tell you the exact composition of
your gold items. The only way you can be certain of an item’s purity
and value is to have it assessed by a professional with access to
proper equipment.


Sell Gold Online: Our Process
Here’s how it works when you sell us your gold, silver, and other
precious metal items:

  1. Fill out our online form to request free USPS or FedEx
     shipping. In response, we will mail you a SAFEPAK, a USPS
     mailer or provide you with a FedEx shipping label that is
     insured up to $5,000.
  2. Once you receive the SAFEPAK or FedEx shipping label,
     package up your gold, silver, platinum, and/or palladium items
     and use the provided label to ship us your valuables at no
     charge to you.
  3. Within 24 hours of receiving your items, our experts will
     determine the value of the pieces and we will email you a
     quote.
  4. If you are satisﬁed with our offer, simply accept it and we will
       rush you out your payment. If you deny the offer, your items
       will be promptly returned free of charge.


Buy and Sell Gold Online
Ready to get started? Now is the time to sell your gold online by
ﬁlling out the form or call our team at (866) 237-7954 to learn
more.




                                                                    



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                   Exhibit 5
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                                                                                                Find out the Value of your Gold, Silver & Diamonds!


Home     Blog        Gold Calculator            Silver Calculator     Diamond Calculator         How to Embed



                                                                                                                  Search                      GO




       Weight 0                 g


       Karats 14K


                                    $0                  Use the calculator to estimate
                                                        the value of your broken or
                                                        unused gold, silver and
    Today's Gold Price: $1838.25/oz
                                                        diamonds.
       Estimate does not reflect payout




                                          GOLD CALCULATOR
                                          This gold calculator allows you to plug in the attributes
                                          of your gold and get an estimated price for it based on
                                          the daily price of gold. It's beneficial for you to use this
                                          calculator because it will help you understand how
                                          much your gold is really worth before you try to sell it
                                          on the market so that you can get a fair price for your
                                          gold. You can calculate your gold price per gram or the
                                          gold value per ounce with it.




 SILVER CALCULATOR
 This silver calculator is a simple online tool that allows
 you to enter in the attributes of your silver in order for
 you to figure out its approximate worth based on the
 silver price of the day. By knowing how much your
 silver costs before you try and sell it on the market,
 you'll have a better understanding of how much you
 should sell it for. This silver calculator is also free
 source, which means that you can take the code for
 the calculator and embed it on your own personal site.




                                          DIAMOND CALCULATOR
                                          This diamond calculator is an easy-to-use online tool
                                          that will provide you with an estimate of how much your
                                          diamonds are worth, based on the daily diamond price.
                                          All you have to do is enter in the attributes of your
                                          diamonds, and you'll be able to get an estimate of how
                                          much your stones are worth. You can also take the
                                          diamond calculator and embed it on your personal site
                                          for free.




                                                          SITE MAP                      CONTACT                            SHARE
                                                          Home                          info@goldvaluecalculator.com
                                                          Blog
                                                          Gold Calculator
                                                          Silver Calculator
                                                          Diamond Calculator
                                                          How to Embed

                                                                               1
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                                                                                              Find out the Value of your Gold, Silver & Diamonds!


Home       Blog        Gold Calculator      Silver Calculator      Diamond Calculator         How to Embed



                                                                                                                Search                      GO

 GOLD CALCULATOR




                                              FIND THE VALUE OF
                                              YOUR GOLD
       Weight 0                 g             If you’ve been looking for a gold calculator online,
                                              you’re in luck. What you’ve probably noticed is that the
                                              price of gold is the highest it has been in the past
       Karats 14K
                                              twenty years, as evidenced by the fact that everybody
                                              and their cousin seems to be advertising the fact that
                                              they buy gold. Right now the price of gold is ever rising
                                    $0        due to increased investor interest in precious stones
                                              and metals, which means that now is an excellent time
                                              to sell your gold for cash.
   Today's Gold Price: $1838.25/oz

       Estimate does not reflect payout
                                             You’re likely well aware that gold is a hot item at the
                                             market. What you might be less aware of is what,
 powered by Cash For Gold USA                exactly, your gold is worth. Unfortunately, not all of us
                                             have gold appraisers lying about the house, and sitting
 around wondering, “how much is my gold worth?” is not the most productive use of a day. To this
 end, we’ve developed online cash for gold calculator – that is, a way to plug in the attributes of your
 particular gold item and get an estimated price for it based on the gold rate of the day.


 This gold calculator can help price your gold items and allow you to enter the gold selling market
 with more confidence. With the calculator, you can calculate your gold price per gram or per ounce
 – whichever is more convenient for your needs. With this cash for gold calculator at your fingertips,
 you will no doubt find it easier and faster to figure out how much your gold is worth and what you
 should be expecting from reputable gold buyers.


 The fact of the matter is that when any commodity becomes a hot market item, there are a slew of
 companies and people who will try and figure out how to separate you from your wares for as little
 cost to them as possible. Many people are selling their gold at well below market value simply due
 to ignorance of the market. With this handy tool, you can figure out how much your gold jewelry,
 gold bars, or even what your scrap gold price should be. Give it a try!


 Even better, the code for this gold calculator online is entirely free. What this means is that if you
 happen to have a personal website, you can take the code for this gold calculator at no cost and
 embed it into your own website. Be sure to spread the word about this calculator – nobody should
 be swindled when they are selling gold! Together, we can work to ensure that those who are selling
 their gold are protected and everybody gets a fair profit for their wares.


 Cash for Gold USA is happy to do its part to protect customers. This cash for gold calculator is just
 one way we try to make the process easier, simpler, and more profitable for all.




                                                       SITE MAP                       CONTACT                            SHARE
                                                       Home                           info@goldvaluecalculator.com
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                                                       Silver Calculator
                                                       Diamond Calculator
                                                       How to Embed

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                                                                                              Find out the Value of your Gold, Silver & Diamonds!


Home      Blog      Gold Calculator         Silver Calculator      Diamond Calculator         How to Embed



                                                                                                               Search                       GO

 HOW TO EMBED


 EMBED OUR
                                                    CALCULATOR SIZE
 CALCULATOR ON
                                                     Small 180x233 px
 YOUR SITE
 IT’S FREE AND EASY!                                Default Tab
 Below are three sizes of our calculator
                                                     Gold
 that you may embed in your site. To
 embed one of them in your site, follow
 the instructions below.                            Embed Code

                                                      <div style='text-align:center'><div><script
 1. Choose the appropriate size                       src='https://cashforgoldusa.com/calc/embed_
    from the calculators below.                       small.js'></script></div><div
                                                      style='padding:5px 0px 10px 0px;font-
                                                      size:11px;font-family:helvetica;'>powered by
 2. Copy the embed code,                              <a style='text-decoration:none'
    located below of the                              href='https://cashforgoldusa.com'>Cash For
                                                      Gold USA</a></div></div>
    calculator that you want to
    embed.
 3. Paste the code into the
    appropriate area of your
    CMS or HTML website.



       CALCULATOR SIZES

       SMALL                                                MEDIUM
       180x233px                                            241x316px




       LARGE
       500x656px




                                                       SITE MAP                      CONTACT                            SHARE
                                                       Home                          info@goldvaluecalculator.com
                                                       Blog
                                                       Gold Calculator
                                                       Silver Calculator
                                                       Diamond Calculator
                                                       How to Embed

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              Podium Chat With
                Lisa Robbins




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              Podium Chat With
                 Zach Zietz




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              Podium Chat With
                Dustin Hicks




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              Podium Chat With
                Ray Simpson




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                   Email With
                  Dakota Hames




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  From:    Dakota Hames dakotahames18@gmail.com
Subject:   Re:
   Date:   March 26, 2021 at 5:15 PM
     To:   EGC Support support@expressgoldcash.com



       On Fri, Mar 26, 2021, 4:58 PM EGC Support <support@expressgoldcash.com> wrote:
        Could you please send us the offer or a screen shot of the offer from
        the other buyer? Ill can see what we can do.

           Thank You
           Express Gold Cash Support
           877-GOLD-165
           ExpressGoldCash.com

           On 3/26/2021 4:17 PM, Dakota Hames wrote:
           > Is 350 too much to ask ?. The scrap value from another buyer is 396
           > ..instead of sending it back is 350 reasoable




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              Podium Chat With
              Kenneth Middleton
              (May 16-17, 2021)




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                    Email With
                   Paul Ninantay




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  From:    paul ninantay panj20@gmail.com
Subject:   Re: Express Gold Cash Offer
   Date:   February 10, 2022 at 3:19 PM
     To:   Express Gold Cash Support support@expressgoldcash.com



       On Thu, Feb 10, 2022, 3:12 PM Express Gold Cash Support <support@expressgoldcash.com> wrote:

           Hi Paul,

           We do have a price match guarantee. Can you send us a screenshot of the offer so we can ask a manager to match it.

           Thank you

           On 2/10/2022 3:06 PM, paul ninantay wrote:
            $1090

             On Thu, Feb 10, 2022, 1:54 PM Express Gold Cash Support <support@expressgoldcash.com> wrote:

               What price were you offered as we do have a price match program?

               On 2/10/2022 1:52 PM, paul ninantay wrote:
                I received a better price on internet

                 On Thu, Feb 10, 2022, 1:49 PM Express Gold Cash Support <support@expressgoldcash.com> wrote:
                  Hello Paul,

                           I'm sorry to hear that you were not satisfied with the evaluation.
                      As we do want you to be satisfied with our service. What were you hoping to
                      get for the Pieces sent in? If it is within reason we would be happy to
                      accommodate you. Thanks for the opportunity to earn your business. We
                      will await to hear back from you.




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                     Email With
                     Pam Jacob




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  From:     Pam Jacob jacob.pam22@gmail.com
Subject:    Re: Your Offer from Express Gold Cash
   Date:    March 1, 2022 at 4:46 PM
     To:    Express Gold Cash Support support@expressgoldcash.com

      I am willing to take my chances on a better offer. Please send my gold back. Do you still have the return address on my label? I'll just include it here:
      Pam Jacob
      3556 East Forest Lake Dr.
      Sarasota, Fl 34232
      Thanks,
      Pam

      On Tue, Mar 1, 2022, 4:30 PM Express Gold Cash Support <support@expressgoldcash.com> wrote:

           Just so you know that is not an offer that they are giving you, that is simply a calculator telling you what your gold is worth. If you look at the fine print
           in the calculator it says it does not reflect payout. I just spoke to one of the managers and we will be able to do $685.00 as your local jeweler is
           considered an actual offer that we can price match plus a little extra. We will send over a new offer for your consideration.

           On 3/1/2022 4:24 PM, Pam Jacob wrote:
            I am not that computer savvy, but I am able to use their online calculator. Also, my own jeweler offered me 660 even with the 10 carat piece. You
            can just send the items back.
            Thanks,
            Pam

             On Tue, Mar 1, 2022, 4:22 PM Express Gold Cash Support <support@expressgoldcash.com> wrote:

               Will you be able to send us a screenshot of their offer please?

               On 3/1/2022 4:20 PM, Pam Jacob wrote:
                Cash For Gold USA will pay 767.94.
                Pam

                  On Tue, Mar 1, 2022, 4:17 PM Express Gold Cash Support <support@expressgoldcash.com> wrote:

                    We weigh in dwt which converts to 21.45 grams on our certified scales. Who made you a higher offer? How much was the offer?

                    On 3/1/2022 4:11 PM, Pam Jacob wrote:
                     I weighed in grams. That was 22.5. Can you still match other offers?
                     Pam

                       On Tue, Mar 1, 2022, 4:07 PM Express Gold Cash Support <support@expressgoldcash.com> wrote:

                         What were you hoping for? The weight between 10k and 14k was 13.8 dwt.

                         On 3/1/2022 4:05 PM, Pam Jacob wrote:
                          That sounds low. What did you get for weight?
                          Pam

                            On Tue, Mar 1, 2022, 3:54 PM Express Gold Cash <support@expressgoldcash.com> wrote:




                               Hi Pamela,

                               We have finished our review and appraisal of your Kit #832435.

                               Our offer for your item(s) is $509.32.

                               Your evaluator commented:
                               10% bonus has been applied.



                               Click here to approve or deny this offer. If you accept, we’ll send your money within 24 hours. If you
                               decline, we'll return your items.

                               Thank you for choosing Express Gold Cash. Please contact us if you have questions or need any
                               assistance.

                               Sincerely,
                               The Express Gold Cash Team




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               Podium Chat With
                 Shawna Pope
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               Podium Chat With
                  Janet Gorny
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               Podium Chat With
                 Mary Mitchell
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               Podium Chat With
                  Noah Wolf
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               Podium Chat With
                  Stone Gair
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                    Emails With
                    Brynn Wright
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Roundcube Webmail :: Re: Your Offer from Express Gold Cash                                                                            4/21/22, 3:40 PM




   Re: Your Offer from Express Gold Cash
                  From      Brynn Wright <bbw1701@gmail.com>
                  To        Express Gold Cash Support <support@expressgoldcash.com>
                  Date      2021-10-21 10:07

   Hello,


   I sent multiple items. I know the 3 cuﬄinks were gold ﬁlled. But in addition to that were 4 other items. I
   appreciate you taking the time to go back and look, but if this is the best offer you all can do I will look at the
   other merchants I mentioned before.

   Brynn


   On Thu, Oct 21, 2021 at 8:54 AM Express Gold Cash Support <support@expressgoldcash.com> wrote:
     Hello Brynn,

        Please understand that all pieces that were received were not all solid gold. 3 cuff-links that were
      mentioned in the notes were gold ﬁlled which is not solid gold. I will have one of the mangers do the best
      they can for you.

      On 10/21/2021 7:31 AM, Brynn Wright wrote:
       Good morning,

       I'm not sure I understand how the price is so low. Sell your gold pays up to 90% of the price of the market
       price of the gold. Also, cash for gold USA offers more than the 90%. I should be getting at least $500.52
       based on the weight. Could you please help me understand why you all provided such a low value?


       Thank you,
       Brynn


         On Oct 20, 2021, at 7:42 PM, Express Gold Cash <support@expressgoldcash.com> wrote:




                       Hi Brynn,


https://mail.expressgoldcash.com:2096/cpsess7981236912/3rdparty/r…task=mail&_safe=1&_uid=110693&_mbox=INBOX&_action=print&_extwin=1        Page 1 of 2
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Roundcube Webmail :: Re: Your Offer from Express Gold Cash                                                                            4/21/22, 3:40 PM



                       We have finished our review and appraisal of your Kit #818537.

                       Our offer for your item(s) is $265.52.


                       Your evaluator commented:
                       3 cuff-links were gold filled and were purchased as gold filled. Everything else
                       was purchased as gold, smaller diamonds as well as sterling silver. Everything
                       was purchased accordingly. 10% bonus was applied.




                       Click here to approve or deny this offer. If you accept, we'll send your money
                       within 24 hours. If you decline, we'll return your items.

                       Thank you for choosing Express Gold Cash. Please contact us if you have
                       questions or need any assistance.

                       Sincerely,
                       The Express Gold Cash Team




                       1-877-465-3165
                       support@expressgoldcash.com




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         unsubscribe




https://mail.expressgoldcash.com:2096/cpsess7981236912/3rdparty/r…task=mail&_safe=1&_uid=110693&_mbox=INBOX&_action=print&_extwin=1        Page 2 of 2
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                         Wealthy Single Mommy
   (https://www.wealthysinglemommy.com/places-to-sell-jewelry-online/)




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                        Wealthy Single Mommy
           (https://www.wealthysinglemommy.com/sell-gold/)




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                            Survive Divorce
           (https://www.survivedivorce.com/cash-for-gold-usa)




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                           Top Consumer Reviews
https://www.topconsumerreviews.com/best-gold-selling-sites/detailed-reviews.php




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                         Mega Income Streams
       (https://megaincomestream.com/how-to-sell-gold-for-cash/)




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                             GOBankingRates
 (https://www.gobankingrates.com/money/side-gigs/best-place-sell-jewelry/)




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                            Millennial Money
            (https://millennialmoney.com/sell-gold-for-cash/)




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                             San Francisco Examiner
(https://www.sfexaminer.com/marketplace/best-cash-for-gold-sites-guide-to-selling-gold-
                                for-cash-online/)




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              MONEY           SELF CARE           DIVORCE          DATING           PARENTING            ABOUT     BLOG




           Cash for Gold USA: Is this a legit gold
                  buyer? [2022 reviews]
           By Emma Johnson | Reviewed by Ying jia Puk, GIA certiﬁed gemologist | Updated Mar. 30, 2022
                                      (originally published Jan. 24, 2022) | 1 

 We get commissions for purchases made through links in this post. Here's more on how we make money.


 If you are looking to bring in extra cash, selling gold jewelry, coins, or metal scraps that you no longer want
 could be an excellent way to make money. But when it comes to selling that gold, there are countless options
 — which can be overwhelming.



 Is CashforGoldUSA legit?
 Yes! While it’s understandable that you might feel nervous about selling your gold online, CashforGoldUSA is a
 completely legitimate business.

 CashforGoldUSA is our No. 1 recommended best place to sell your gold (and more, including silver and
 diamonds!), for a few reasons:

         CashforGoldUSA pays within 24 hours,
         Found by Fox Business News investigation to pay 3X their competitors
         Better Business Bureau A+ rating
         Price match guarantee
         Free return guarantee
         Insured up to $100,000
         10% bonus if you ship within 7 days
         Get a quote with CashforGoldUSA now >>



 CJ Environmental history
 CashforGoldUSA.com, CashforSilverUSA.com, and CashforDiamondsUSA.com are owned by CJ
 Environmental, which was founded in 1975 by Norm Schneider, whose family continues to own and operate
 the company in Foxboro, Massachusetts:
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 Here are answers to the most common questions people ask about CashforGoldUSA, including a review of
 my personal experience with the company:

         How CashforGoldUSA works
         What CashforGoldUSA buys
         CashforGoldUSA reviews
         How long CashforGoldUSA's process takes
         Pros and cons of CashforGoldUSA



 How does Cash for Gold USA work?
 There are more details below, but in short, this is how CashforGoldUSA works:

       1. Go to CashforGoldUSA.com
                CashforGoldUSA.com, enter in a few details about your item.
      2. Get a FedEx or USPS mailer within a few days.
      3. Send in your item, and get an offer within 24 hours.
      4. If you accept, get paid immediately.



 What does CashforGoldUSA buy?
 CashforGoldUSA buys gold in any shape, form, or quantity, including:

         Broken or whole gold jewelry
                              jewelry, including gold rings, bracelets, earrings, gold chains
                                                                                       chains, pins, clasps,
         necklaces, etc.
         Coin collections
         Gold coins
         Gold bullion
         Raw gold ingots, nuggets, and solder
         Gold wire and scrap
         Gold dental scrap from dentists

 The company accepts all karats of gold, including 8k, 9k, 10k, 14k, 15k, 18k, 22k, and 24k gold.

 Learn about top gold buyers.



 CashforSilverUSA
 CashforSilverUSA is a sister site of CashforGoldUSA — they share the same family-run parent company, C.J.
 Environmental, which enjoys an A+ Better Business Bureau rating, high TrustPilot and customer reviews, and
 the same 24-hour payment and money-back guarantees. Sell your silver coins coins, silver tableware and ﬂatware
 and other silver jewelry, dental scrap and other silver through CashforSilverUSA.

 Learn about top silver buyers
                        buyers.



 Diamonds USA
 Diamonds USA (formerly CashforDiamondsUSA), is also a C.J. Environmental company, with the same BBB A+
 rating, and 24-hour payment, though specializing in paying high prices for engagement rings
                                                                                       rings, diamond
 jewelry, necklaces, earrings, bracelets and loose diamonds.

 Learn about top diamond buyers.



 Cash for Gold USA reviews
 As a result of my personal experience and reading through reviews, I can sawy that CashforGoldUSA.com
 stands out from other online gold buyers in a number of ways:

         100% free shipping: Fill out a form requesting an appraisal of your item, and they will send you a
       00% ee s pp g: out a o equest g a app a sa o you te , a d t ey se d you a
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         prepaid mailer through either FedEx or USPS (your choice), which you can then track, door-to-door.
         Insure all shipments: All shipments are automatically insured up to $5,000, with additional insurance
         available for items valued up to $100,000 through Jewelers Mutual Insurance. If something happens
         to your gold during transit, you’ll be compensated for it.
         Insure their facility: Your item is insured up to $100,000 by Lloyds of London while held.
         Founded in 2005, CashforGoldUSA has paid out more than $156 milllion to other people selling their
         gold, silver, diamonds and jewelry
         Risk-free returns: If you don’t like the amount they offer, you’ll receive your items back at no cost,
         trackable through FedEx or USPS.
         10% bonus if you ship within 7 days
         A Fox Business News investigation found that CashforGoldUSA pays three times its competitors:


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 CashforGoldUSA buys gold online from people looking to sell old gold jewelry, coins, dental and other scrap,
 as well as watches, Rolex
                     Rolex, and diamonds. They make money by buying the gold at a slight discount to the
 scrap value of the metal. They then melt these objects down and sell at a proﬁt. The vast majority of the value
 of each sale goes to the seller.



 Cash for Gold USA reviews

 BBB rating and reviews
 If you were to search for CashforGoldUSA on the Better Business Bureau website, CashforGoldUSA and its
 sister websites are run by CJ Environmental, Inc., a metal reﬁning company that has been in business since
 2005.

 CJ Environmental has an A+ rating with the bureau. The proﬁle also shows that the company has an average
 of 4.4 stars out of 5, based on an average of 74 customer reviews.

 At the time of this review, it appears CJ Environmental replied to and addressed all of the complaints ﬁled on
 the BBB site.
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 CashforGoldUSA TrustPilot reviews
 CashforGoldUSA has 58 customer reviews on Trustpilot
                                                  Trustpilot, averaging 4.3/5. Common complaints include too-
 low of an offer. Most are very positive, and highlight the ease of use, professional communication, quick
 process and payment, and fair price:
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 CashforGoldUSA customer reviews
 Cash for Gold USA is a reputable online gold buyer that has a 98% approval rating from Shopper Approved.
 Below are a sampling of customer reviews:




 My CashforGoldUSA review
 CashforGoldUSA is the leading online site that is a place that buys gold and diamonds (as well as silver and
 watches). You send in your gold by USPS mail or FedEx.

 I recently tried out CashforGoldUSA, as part of a comparison-shopping to ﬁnd the best price and
 service for selling gold
                        gold.

 This is my experience with selling a 16″, 14k chain necklace to CashforGoldUSA:

 1. I went to CashforGoldUSA.com and estimated the value of the necklace using their gold calculator, which
 estimated my jewelry was worth $205.13 (retail value: about $399).




 2. The price seemed fair, so I requested a FedEx mailer be sent right to my door. It arrived 3 days later. You
 can also choose a USPS mailer.
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 3. I used the plastic bag included, and placed the gold chain inside the pre-addressed FedEx mailer and rode
 my bike a mile to the nearest FedEx dropbox that same afternoon.




 4. Within about 20 hours I received an email with the offer of $191.97, and whether I wanted to be paid
 immediately via Paypal (which charges its usual 3% fee), or wait a few days for a paper check in the mail. I
 clicked the Paypal button and immediately received notice from Paypal that agreed-upon sum was in my
 account.
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 Total time from getting an online estimate to getting paid: less than 4 days.

 CashforGoldUSA pays a 10% bonus above their estimate if you ship your item within 7 days.

 Here are some recent sales at CashforGoldUSA:
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 Get started with CashforGoldUSA.com today >>



 CashforGoldUSA process
 Selling your gold to CashforGoldUSA is rather straightforward. All you need to do is:

       1. Visit CashforGoldUSA.com and ﬁll out a form requesting a prepaid mailer be sent to you, free of
          charge.
      2. Place your items inside the mailer and send it back to CashforGoldUSA. You can have the mailer
         picked up at your door (opposed to taking it to the shipping center).
      3. Your items will be appraised within 24 hours of receipt to determine the value of the gold, and you’ll
         be sent an offer.
      4. If you accept the offer, you’ll be paid by either check, bank wire, or directly through PayPal.
         Depending on which option you choose, you may be paid in as little as 24 hours after accepting the
         offer.
      5. If you don’t accept the offer, your item will be returned to you free of charge.

 Get a free estimate of your item before you send it in for appraisal. Just enter the weight and karat of gold into
 CashforGoldUSA's gold calculator
                             calculator. It is important to note that this is just an estimate, though, and not a
 ﬁnal offer. The only way to get an accurate offer is to send your item in for appraisal.

 More on how CashforGold works:



 CashforGoldUSA guarantee
 CashforGoldUSA always guarantees that if you are not 100% happy with the offer they make for your gold,
 then you can back out free of charge. They also guarantee that if you have a better offer from a competitor,
 they will match that offer.



 How does Cash for Gold USA pay?
 CashforGoldUSA will pay by paper, mailed check, which takes 2-3 business days or immediately by Paypal —
 your choice.



 How long does CashforGoldUSA take?
 Once you request your free mailer, you should receive it within a week. I received mine in 3 days.

 Shipping your item to the company will less than 24 hours. Once your item is received, it will be appraised
 within 24 hours and you will receive an offer. If you receive this offer, CashforGoldUSA will pay you
 immediately according to your preferred payment method. Receiving payment by PayPal will be the fastest
 option, with money deposited in your account immediately. Payment by check or bank transfer will take a few
 more days.

 All told, you can go from requesting a mailer to receiving cash for your gold within a week total, depending on
 how quickly you send in your item.
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 10% bonus if you ship within 7 days.



 How much does Cash for Gold USA pay?
 Ultimately, how much you receive for your gold will depend on the weight and purity of the gold, as well as the
 current market price of the metal.

 Gold prices this year exceeded $2,000 for only the second time in 50 years. As of April 21, 2022, the gold
 resale value in the United States was at a near-record price of $1973.97 per ounce, or $69.63 per gram.

 That said, CashforGoldUSA guarantees that they will match any offer you have received from a competitor. A
 Fox News investigation found that the company pays an average of three times what competitors
 offered. Here is what my own research found:

 Below is a summary of the results from my experiment:




                              Offer                       Pro                         Con

  Jeweler                     $95                         Local business              Low offer, gross shop

                                                          Nice people, meh offer,     They have my personal
  Pawnshop                    $110
                                                          easy                        info on record

                                                          Very easy, don’t have to
                                                                                      No quote until you send
                                                          leave home, transparent
                                                                                      in your item, except for
  CashforGoldUSA.com          $191.97                     process, 10% bonus.
                                                                                      the gold appraisal
                                                          Accepts all gold and
                                                                                      calculator on their site
                                                          silver items.

                                                                                      Does not accept smaller
                                                          n/a Didn't do business
  AbeMor.com                  $0                                                      items, and minimum is
                                                          with them
                                                                                      not clear.

                                                                                      Can be dingy
  Local cash-for-gold                                     Could be quick cash for
                              $0 to $153                                              businesses of
  stores                                                  maybe a decent price?
                                                                                      questionable integrity




 What percentage does Cash for Gold USA take?
 CashforGoldUSA does not state on its site or in interviews how much commission it takes.

 In general, online gold buyers are more competitive and have lower overhead, so can pay a higher price to
 sellers.

 In my experience, CashforGoldUSA paid far more than pawn shops, cash for gold locations near me, jewelers
 near me or other online gold buyers.



 Pros of CashforGoldUSA
 The beneﬁts of selling your gold to CashforGoldUSA include:

         Ease: Selling your gold is as easy as requesting a mailer, sending your gold in for an appraisal, and
         accepting an offer.
         Speed: If you accept their offer, you can be paid in as little as 24 hours depending on the payment
         method you choose.
         High pay: CashforGoldUSA has been found to pay up to three times the price offered by competitors
         according to a third-party investigation, as well as my own research.
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         according to a third party investigation, as well as my own research.
         If you send in your item within seven days, you can receive a 10% bonus for your gold.
         Price match: CashforGoldUSA will match any offer from a competitor, so you know you’ll always get
         as much money for your gold as possible.
         Free shipping: CashforGoldUSA will provide a prepaid, insured shipper for you to send in your gold
         for appraisal, and return your item free of charge if you choose not to sell.
         Hassle-free returns: If you decide you don’t want to accept their offer, CashforGoldUSA will send you
         your item back without question.
         Accepts a range of items and accepts all weights and quality of metals and gemstones: From jewelry
         to coins to dental scrap and Rolexes in any karat or weight. CashforGoldUSA will also accept
         platinum, silver, palladium, watches and diamonds and gemstones through its sister websites.
         Feel good about recycling your gold and silver — which has a much lower environmental impact
         than mining and smelting.



 Cons of CashforGoldUSA
 While we recommend CashforGoldUSA, there can be some drawbacks, including:

         It’s not ideal for collectible coins, or branded jewelry: If you have gold coins that have value as a
         collectible or high-end designer jewelry, such as Tiffany
                                                             Tiffany, Cartier
                                                                        Cartier, Bvlgari, David Yurman, Van Cleef
         & Arpels
             Arpels, or Harry Winston, we recommend Worthy.com
                                                          Worthy.com.
         Your offer is based on a single evaluation: CashforGoldUSA appraises each item as it is received and
         uses this one evaluation to calculate an offer. Take it or leave it.



 Other places to sell gold online
 Selling your gold can be an excellent way of bringing in some cash that you can use to reach your ﬁnancial
 goals, whatever they are, and CashforGoldUSA is an excellent option for doing just that.

 Here is speciﬁc information on how to sell your jewelry
                                                 jewelry, engagement ring
                                                                     ring, as well as necklaces
                                                                                      necklaces,
 earrings
 earrings, watches or estate and antique jewelry
                                              jewelry.
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                       CashforGoldUSA


                                                                             PROS
                                                                             - Selling your gold is as easy as requesting a
                                                                             mailer, sending your gold in for an appraisal, and
                                                             9.2             accepting an offer.
                                                                             - You can be paid in as little as 24 hours
                                                                             depending on the payment method you choose.
                                                                             - CashforGoldUSA has been found to pay up to
                                                                             three times the price offered by competitors
                                                                             according to a third-party investigation.
                                                                             - If you send in your item within seven days, you
                                                                             can receive a 10% bonus for your gold.
                                                                             - CashforGoldUSA will match any offer from a
                                                                    9.2/10   competitor, so you know you’ll always get as much
                                                                             money for your gold as possible.
                      RATING



                                                                             CONS
                                                                             - It’s not ideal for collectible coins, or branded
                                                                             jewelry.
                                                                             - Your offer is based on a single evaluation:
                                                                             CashforGoldUSA appraises each item as it is
                                                                             received and uses this one evaluation to calculate
                                                                             an offer.




                                                                    Add a comment




       ← Ellevest reviews 2022: Investing, banking,                                     Where and how to sell an engagement ring
       saving, and financial coaching – for                                             for cash: Reviews of the best ring buyers in
       beginners                                                                                                            2022 →




                                                                         Emma Johnson
                         Wealthysinglemommy.com founder Emma Johnson is an award-winning business journalist, activist, author and expert. A former
                         Associated Press reporter and MSN Money columnist, Emma has appeared on CNBC   CNBC, New York Times
                                                                                                                          Times, Wall Street Journal,
                         NPR, TIME
                              TIME, The Doctors, Elle, O, The Oprah Magazine. Winner of Parents magazine’s “Best of the Web” and a New York Observer
                         “Most Eligible New Yorker," her #1 bestseller, The Kickass Single Mom (Penguin), was a New York Post Must Read. As an expert on
                         divorce and gender, Emma presented at the United Nations Summit for Gender Equality and multiple state legislature hearings.
                         More about Emma's credentials.




                                                            One Comment
KathyMcDonnell on January 29, 2022 at 5:08 pm
    y
                    Casey 1:22-cv-00352-LJV
                                    p
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  The price you give is the amount we get? Or are there fee’s and percentages taken out?


                                                                                                    Reply



Leave a Comment
Comment (required)




Name (required)




Email (will not be published) (required)




Website




 SUBMIT COMMENT




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